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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,                                         Case No. 1:12-cr-160

 v.                                                        HON. JANET T. NEFF

 TINA WALKER,

       Defendant.
 _______________________________/


               ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court has reviewed the Report and Recommendation filed October 31, 2012 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served on

the parties, and no objection has been made thereto within the time required by law.

           THEREFORE, IT IS ORDERED that:

           1. The Report and Recommendation of the Magistrate Judge (Dkt 39) is APPROVED

and ADOPTED as the opinion of the Court.

           2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge

set forth in Count Two of the Indictment.

           3. The written plea agreement is hereby continued under advisement pending sentencing.




Date: November 19, 2012                                /s/ Janet T. Neff
                                                      JANET T. NEFF
                                                      United States District Judge
